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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Criminal No.: 1:20-cr-00210-CKK

ELLIOTT BROIDY,

Defendant.

Pro

 

ORDER
Upon consideration of the Notice of Executive Grant of Clemency and Consent Motion

to Dismiss as Moot, it is hereby ORDERED that the motion to dismiss is GRANTED.

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Colleen Kollar-Kotelly
United States District Judge
